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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 IN RE:                                          §        CHAPTER 11
                                                 §
 SEA GIRT LLC, and                               §        CASE NO. 21-30085-11
                                                 §        CASE NO. 21-30080-11
 THE NATIONAL RIFLE ASSOCIATION                  §
 OF AMERICA,                                     §        Joint Administration Requested
                                                 §
 DEBTORS.                                        §
                                                 §

                        DECLARATION OF SHAWNE E. SOTO
                   IN SUPPORT OF CERTAIN FIRST DAY MOTIONS

       1.      My name is Shawne E. Soto. I am the Human Resources Information Systems

(“HRIS”) Benefits and Payroll Manager of the National Rifle Association of America (the “NRA”

or the “Association”).

       2.      I have served in my capacity as HRIS Benefits and Payroll Manager of the NRA

since approximately 1995. As part of my job responsibilities, I am involved in overseeing all

matters related to employee compensation and benefits. I also oversee all NRA compliance

programs and control vendor management.

       3.      Unless otherwise noted, I have personal knowledge of all matters stated herein. I

submit this declaration in support of Debtors’ Emergency Motion for Interim and Final Orders

Authorizing Payment of Pre-petition Employee Wages, Compensation, and Employee Benefits

And Granting Related Relief (the “Wages Motion”).

       4.      I reviewed the Wages Motion and am familiar with the relief it seeks.




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A.         Employee Wages, Associated Tax Obligations, and Employee Withholding

           5.        As of the Petition Date,1 the NRA had 490 active employees as of the Petition Date,

with 381 employees due to be paid during the next payroll cycle. The NRA’s employees are paid

bi-weekly, on every other Thursday, for the two-week period ending on the preceding Saturday.

The NRA’s payroll is processed through third-party administrator Ultimate Software (“UltiPro”),

which calculates the NRA’s bi-weekly payroll obligations and debits the NRA’s payroll account

on the Tuesday prior to biweekly payroll to employees. Approximately 90% of NRA employees

are paid via direct deposit, and the remainder are paid via check. As of the Petition Date, the

NRA’s average biweekly payroll obligation, including applicable employee and employer tax

obligations and various deductions and remittances, was approximately $1,720,000.

           6.        As of the Petition Date, the NRA was current on all bi-weekly payroll obligations.

The NRA’s next payday is January 21, 2021, which covers wages earned during the period from

January 3, 2021 to January 16, 2021. Accordingly, the NRA’s next payday includes amounts owed

to employees for work performed prior to the Petition Date. The NRA estimates that its total

employee wage and tax obligation for the January 21, 2021 payroll will be $1,820,000, generally

consisting of $865,000 in gross wages, $460,000 in employer and employee tax obligations, and

various employee deductions and withholdings.

           7.        During each pay period, the NRA also withholds certain amounts from employees’

gross earnings related to various benefit programs and garnishments. The NRA estimates that its

aggregated employee withholding obligation for the January 21, 2021 payroll will be

approximately $211,000.



           1
               Capitalized terms not defined herein have the same meaning as those terms defined in the underlying
motions.


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B.     NRA Event Staff

       8.      The NRA has a network of non-employee independent contractors that provide

support for NRA events throughout the year (“NRA Event Staff”). The NRA does not currently

owe any amounts to NRA Event Staff for prepetition services and does not seek to pay such

amounts under this Motion.

C.     Health, Dental, and Disability Insurance and Related Benefits

       9.      The NRA provides regular, full time eligible employees, and their eligible

dependents with access to group health, vision, dental, short- and long-term disability, and life

insurance plans, administered by CIGNA (health, dental), UNUM (life, disability), and other third-

party benefit providers. The NRA’s health and dental insurance policies are self-funded and

backstopped by a stop-loss policy. The NRA funds approximately 77% of the monthly costs for

employees with the remaining 33% funded by participating employees through payroll deductions.

       10.     Because the NRA’s plan is self-funded, it is not possible to predict the number of

claims that the NRA might be required to pay in a given period. In the ordinary course of business,

the NRA pays health and dental claims on a daily basis through its claims submission process,

with average daily claims ranging from approximately $10,000 to $50,000 per day depending on

the volume of claims. The NRA’s stop-loss insurance premiums paid to Cigna varies depending

on the number of employees participating in the NRA’s benefit plans. The NRA’s approximate

average monthly premium and administrative fee to Cigna in connection with the health and dental

plan and stop-loss insurance is $90,000 to $125,000.

       11.     The NRA provides employees with short-term disability coverage through a self-

funded short-term disability plan administered via UNUM. The monthly administration cost for

this program is approximately $1,200. Accrued claims are processed via UNUM and paid through


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the NRA’s payroll process. The NRA also provides long-term disability insurance, group and

supplemental/dependent life insurance, and accidental death and dismemberment insurance, each

of which is fully insured through UNUM. The NRA’s aggregate monthly cost for this program is

$40,000 per month, inclusive of premiums and administrative costs, which is partially paid via

employee payroll deductions in the approximate amount of $9,800 per month.

       12.     The NRA also provides employees with the opportunity to participate in certain

voluntary benefit programs for which premiums are fully funded through deductions from

participating employees’ payroll. These programs include vision, prepaid legal, group home/auto

insurance, and pet insurance, and the associated withholding and premium remittances are

approximately $3,800 per pay period, which are paid to the plan administrators on a monthly basis.

The NRA anticipates that its withholding and remittance obligations in connection with these

voluntary benefit programs for the January 21, 2021 payroll will be approximately $3,800.

D.     Flexible Spending Accounts

       13.     The NRA also provides employees with access to employee flexible spending

accounts (the “FSAs”). The NRA’s FSA program permits eligible employees to contribute funds

on a pretax basis, subject to an annual cap, to accounts used to pay qualifying medical expenses

throughout the year. The FSAs are administered in-house and funded via deductions from

employees’ biweekly pay. Employees are then reimbursed from their FSA upon submitting

qualified expenses to the NRA’s in-house FSA administrator. The NRA’s FSA claims obligations

are approximately $5,000 to $9,000 per week depending on the claims that are submitted.

E.     Vacation and Paid Time Off

       14.     All regular, full time employees of the NRA are eligible for paid vacation based on

length of employment. Employees initially accrue 2.88 hours per pay period worked, which can


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increase to 7.21 hours per pay period depending on length of service and position held. Generally,

the NRA’s employees accrue 10 days of vacation during their first year of employment. Unused

vacation is rolled over into the next calendar year, but employees’ accrual of unused vacation is

capped at 225 hours. Unused accrued vacation is payable upon the termination or resignation of

employment. The NRA estimates that its total outstanding vacation obligation as of the Petition

Date is approximately $3,600,000.

       15.     The NRA anticipates that many employees will continue to use accrued PTO in the

ordinary course of business without causing any material cash flow requirements beyond the

NRA’s normal payroll obligations.

F.     Retirement Benefits

       16.     The NRA also maintains a company 401k plan (the “401k Plan”) for certain eligible

employees. The 401k Plan is administered by Fidelity. Employee contributions are processed with

each payroll and deducted from participating employees’ paycheck. The NRA does not match

employee contributions. The NRA does not currently owe any amounts to Fidelity for the

administration of the 401k Plan.

       17.     The NRA also maintains a defined benefit retirement plan that is administered by

Fidelity (the “Pension Plan”). The NRA is periodically required to make certain minimum

contributions to the Pension Plan. As of the Petition Date, the NRA was current on its required

minimum contributions to the Pension Plan. The next required minimum contribution will be due

on April 15.

       18.     In addition, the NRA also provides a limited number of nonqualified 457F/B

retirement plans (the “Nonqualified Retirement Plans”) for certain employees; these plans are

100% funded by bi-weekly employee payroll deductions. These Nonqualified Retirement Plans


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are maintained by the NRA and administered by the Newport Group, which invoices the NRA

approximately $10,000 per year for administration and record keeping functions. In the event a

plan participant leaves the employment of the NRA, the balance of the participant’s nonqualified

retirement account is paid out to the employee by the NRA as part of the payroll process.

G.     Payroll Processing, Software, and Administration Expenses

       19.     As noted above, the NRA utilizes UltiPro to process and administer its payroll. The

NRA’s obligation to UltiPro for processing services and support is approximately $45,000 per

quarter. The NRA also utilizes software provided Web Benefits Design in connection with the

various employee benefit programs described above. This software enables the NRA to manage

employee benefit enrollment and elections and is critical to the maintenance and operation of the

NRA’s employee benefits program. The NRA’s approximately monthly licensing fee for the use

of this Web Benefits Design software is approximately $3,000 per month. In connection with the

FSA program described above, the NRA utilizes software provided by Travis Software, at an

approximate annual cost of $1,400.

       20.     In addition, the NRA and ILA utilize Benefit Resources, Inc. to provide various

benefit consulting services to their employees. These services are critical to the NRA and ILA’s

ability to maintain plan compliance and to efficiently administer their employee benefit programs.

Absent the services provided by Benefit Resources, Inc., employee benefit programs could be

disrupted or become non-compliant. The NRA and ILA’s monthly obligation in connection with

these services is approximately $12,500. As of the Petition Date, the NRA and ILA were current

with Benefit Resources, Inc.

H.     Miscellaneous Employee Obligations and Expenses




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       21.       The NRA provides company phones to certain eligible employees in connection

with their employment. In connection with this employee phone program, the NRA maintains

corporate accounts with both AT&T and Verizon Wireless. The NRA estimates that its aggregate

monthly cost for providing company phones under these two plans is approximately $7,000. The

NRA was current on its obligations in connection with the company phone program as of the

Petition Date.

       22.       In addition, the NRA is obligated under federal regulations to provide employees

hearing tests and periodic blood tests (for employees exposed to lead), which are provided by third-

party testing agencies. The cost of individual tests is de minimis (less than $100). While the NRA

was current on all obligations related to such testing as of the Petition Date, there may have been

tests conducted shortly prior to the Petition Date for which payment will not become due until

post-petition.

       23.       The NRA also maintains an employee assistance program that provides employees

with access to various counseling, therapeutic, and rehabilitative services. The cost of this program

is approximately $13,000 per year, paid annually in June. As of the Petition Date, the NRA was

current on its obligations with respect to the employee assistance program.

I.     The NRA’s Employees are Indispensable and Critical to its Continued Operations.

       24.       To maintain the continuity of the NRA’s business operations, and to preserve the

morale of employees, it is important that the NRA be permitted to pay the Prepetition Employee

Obligations at its discretion in the ordinary course of business. If employees do not receive

payment for work performed prepetition, the NRA could lose a significant number of its employees

with little or no notice. Moreover, any employees living paycheck to paycheck would suffer severe

adverse consequences if they did not receive their full compensation.


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        25.     Likewise, the NRA would suffer immediate and irreparable harm as a result of any

loss of morale, departures of employees, disruption to its operations, decreased revenue, and

resulting damage to goodwill. The NRA’s ability to continue operating is largely contingent on

its employees and their willingness and ability to continue managing and running the NRA’s

business.     Honoring the Prepetition Employee Obligations will minimize the hardship that

employees will certainly endure if payroll is interrupted and will prevent the substantial disruption

to the NRA’s operations that could result if employees lost the reasonable expectation that they

will be paid for their work. I believe that it is in the best interest of its estate to honor the Prepetition

Employee Obligations.

J.      Payment of the Prepetition Employee Obligations

        26.     The payment of the Prepetition Employee Obligations here is necessary to prevent

the risk of damage to the NRA’s estate, which would adversely affect all parties in interest. As

explained above, the continued services and cooperation of the NRA’s employees is integral and

necessary to the NRA’s continued operations and reorganization. If the NRA is unable to assure

its employees that they will be paid timely, or if employees are not immediately assured of

uninterrupted, critical payments to which they are entitled, the NRA’s post-petition operations

would be seriously jeopardized. In addition, many of the NRA’s employees have years of

experience and institutional knowledge, are highly valuable to the NRA, and would be difficult to

replace, especially on short notice. The disruption to the NRA’s operations caused by the loss of

experienced employees would be extremely and irreparably detrimental to the NRA’s estate.

        27.     The NRA has not identified a practical alternative to payment of the Prepetition

Employee Obligations that would not result in a significant disruption of its business and harm to

the estate.


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K.       Payment of Certain of the Prepetition Employee Obligations

         28.     The payroll taxes and other deductions included in the Prepetition Employee

Obligations principally represent employee earnings that state and local governments, employees,

and/or judicial authorities have designated for deduction from employees’ paychecks. Certain

deductions, such as contributions to employee benefits programs (including the 401k Plan, for

example) and child support and alimony payments, have been withheld from employees’

paychecks on behalf of other parties.

         29.     I believe that unless the Court grants the relief requested in the Wages Motion, there

will be disruption to the NRA’s necessary payments to maintain and ensure the NRA’s ongoing

operations. Specifically, failure to pay the NRA’s employees in the ordinary course of business

on January 21, 2021 could result in the wholesale loss of employees and dramatically impair the

NRA’s ability to continue operating its business. Accordingly, payment of the Prepetition

Employee Obligations as requested in this Motion is necessary to avoid immediate and irreparable

harm to the NRA and its estate.

            30. Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the foregoing

     is true and correct to the best of my knowledge and belief.



Dated: January 19, 2021                         /s/
                                                Shawne E. Soto




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